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                            Exhibit E
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Jeff Rambin
From:                         Jeff Rambin
Sent:                         Thursday, January 28, 2010 1 :48 PM
To:                           'Dan_Herp@playstation.sony.com'
Subject:                      RE: New CSIRO Subpoena


Thanks Dan. Now that you mention it, I don't recall if you personally spoke to a procedure or remedy. As to SeENs
position, though, Jennifer Liu was quite clear on that point.

In any event, I'm hoping to have an update shortly on the status of discussions with Marvell.


From: Dan_Herp@playstation.sony.com [mailto:Dan_Herp@playstation.sony.com]
Sent: Thursday, January 28,2010 1:34 PM
To: Jeff Rambin
Subject: RE: New (SIRO Subpoena


Jeff,

As a point of clarification with respect to your reference to a DQ motion in your email below.ldid not mention any
particular procedure or remedy during our discussions regarding this matter.

Dan




"Jeff Rambin" <jrambin@capshawlaw.com>                          To Dan Herp/ContractorISCEA@Playstation
                                                                 cc
01/27/201002:32 PM                                          Subject RE: New CSIRO Subpoena




Dan,

Thanks for your email. From our side, we believe that the subpoena is proper. However, the face of the notice said we were willing
to take the deposition at an agreed location and we have offered to take the deposition in California. [understood SCEA's position
to be that it believes that it is improper for Townsend to seek or benefit from a deposition of Sony, and that SCEA would respond to
any motion to compel a deposition with a DO motion. We don't agree with that position, of course, but the upshot is that the offer
to take the deposition in California does not address SCEA's primary concern. Likewise, we had reached the point of agreeing to
disagree on the extent to which documents of corporate parent and siblings are within SCEA's possession, custody or control.

As we discussed, Marvell has expressed some willingness to work out an agreement with CS[RO regarding these documents. [hope
that bears fruit so that we can avoid motion practice. We should know in the next day or two if those discussions will be productive.
 ['II let you know as soon as [find out.

Jeff



From: Dan Hero@Dlaystation.sony.com [mailto:Dan Herp@playstation.sony.comJ
Sent: Wednesday, January 27, 2010 4:00 PM
To: Jeff Rambin
Subject: RE: New (SIRO Subpoena
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Jeff,

Thanks for calling me back. As we discussed, Sony Computer Entertainment America Inc. ("SCEA") has the same
objections to CSIRO's new subpoena to SCEA in the Marvell v. CSIRO action that it had to CSIRO's prior subpoena. It is
SCEA's position that the location of the new deposition in Palestine, TX, violates FRCP 45(c)(3)(A)(ii). It is also SCEA's
position the amount of notice provided for the new deposition is not reasonable, especially in light of the location of the
deposition in Palestine, TX. Additionally, as we previously discussed, SCEA is not in a position to authenticate
documents that were generated by other entities. Therefore, SCEA will not be appearing for deposition tomorrow morning
in Palestine, TX.

Dan




"Jeff Rambin" <jrambin@capshawlaw.com>

                                                                        To Dan Herp/ContractorISCEA@Playstation
01/27/201012:32 PM
                                                                        cc
                                                                    Subject RE: New CSIRO Subpoena




Thanks. Got back-to-back conference calls. Should be done in about 45 mintues.

From: Dan Herp@playstation.sony.com fmailto:Dan Hem@playstation.sony.comJ
Sent: Wednesday, January 27, 2010 2:16 PM
To: Jeff Rambin
Subject: New CSIRO Subpoena


Jeff,

I got your voicemail and just left you a voicemaiL Please give me a call. Thanks.

Dan




Jeff,

Could you please give me a call at 650-655-5617 regarding the new subpoena to Sony Computer Entertainment America
Inc. in the Marvell v. CSIRO case. Thanks very much.

Dan


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